536 U.S. 950
    JAZZ PHOTO CORP. ET AL.v.INTERNATIONAL TRADE COMMISSION ET AL. andFUJI PHOTO FILM CO., LTD.v.JAZZ PHOTO CORP. ET AL.
    No. 01-1158.
    No. 01-1376.
    Supreme Court of the United States.
    June 24, 2002.
    
      1
      C. A. Fed. Cir. Motion of petitioners in No. 01-1158 for leave to file petition for writ of certiorari under seal with redacted copies for the public granted. Motion of American Free Trade Association for leave to file a brief as amicus curiae granted. Motion of respondent Fuji Photo Film Co., Ltd., in No. 01-1158, for leave to file a brief in opposition under seal with redacted copies of the brief for the public granted. Motion of Costco Wholesale Corp. for leave to file a brief as amicus curiae granted. Motion of Grandway USA Corp. to be substituted in place of petitioner Dynatec International, Inc., denied. Motion of petitioner in No. 01-1376 for leave to file cross-petition for writ of certiorari under seal with redacted copies for the public granted. Motion of respondents Jazz Photo Corp. et al. for leave to file a supplemental brief in No. 01-1376 under seal with redacted copies for the public granted. Certiorari denied. Reported below: 264 F. 3d 1094.
    
    